                      UNITED STATES DISTRICT COURT FOR THE
                      WESTERN DISTRICT OF NORTH CAROLINA
                              STATESVILLE DIVISION
                              DOCKET NO.: 5:10CR5-V



UNITED STATES OF AMERICA          )
                                  )
           v.                     )                               ORDER
                                  )
SAUL VARGAS NUNEZ (4),            )
                 Defendant.       )
                                  )
_________________________________ )



        Leave of Court is hereby granted for the dismissal of the Bill of Indictment (as it pertains to

SAUL VARGAS NUNEZ only) in the above-captioned case without prejudice. (See Document

#115)

        The Clerk is directed to certify copies of this Order to the U.S. Probation Office, U.S.

Marshal’s Service, and the United States Attorney's Office.




                                                  Signed: December 13, 2010




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